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                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           PANAMA CITY DIVISION

SHAUNTWAN BARNES,

      Plaintiff,

v.                                                   Case No. 5:21-cv-5-TKW-MJF

MARK INCH, et al.,

      Defendants.
                                            /

                             SHOW CAUSE ORDER

      On January 11, 2021, this court ordered Plaintiff to file the following within

thirty days: (1) an amended civil rights complaint on the court-approved form, and

(2) the $402.00 filing fee, or a complete application to proceed in forma pauperis.

(Doc. 3). On February 12, 2021, the court extended Plaintiff’s deadline to March 12,

2021. (Doc. 6). Plaintiff has filed a motion to proceed in forma pauperis (Docs. 4,

7), but has not complied with the remaining requirement of the order.

      Accordingly, it is ORDERED: Within FOURTEEN (14) DAYS from the

date of this order, Plaintiff shall show cause why this case should not be dismissed

for failure to prosecute and failure to comply with this court’s order.

      SO ORDERED this 17th day of March, 2021.


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                              /s/ Michael J. Frank
                              Michael J. Frank
                              United States Magistrate Judge




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